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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

__________________________________________
NICOLE WADE, AMY DISALVATORE, )
and DYLAN BARKASY                          )
Plaintiffs                                 )
                                           )
v.                                         )         NO. 3:24-cv-924-JAM
                                           )
UNIVERSITY OF CONNECTICUT                  )
BOARD OF TRUSTEES and                      )
ANDREW AGWUNOBI                            )
Defendant                                  )

  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE
         THE DECLARATION OF DR. PETER McCULLOUGH


     Plaintiffs oppose defendants’ eleventh-hour attempt to exclude the expert

declaration of Dr. Peter McCullough, which was provided to on August 5, 2021.

Plaintiffs oppose for the following reasons:

       1. Defendants’ motion is simply an attempt to have this Court enter a

          finding of fact in a Texas state case (that Dr. McCullough’s statements

          were either untrue or violative of an agreement he had with a nonparty in

          this matter), which this Court has no jurisdiction to do. See defendants’

          Memorandum in Support of their Motion to Dismiss, where they cite

          Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 106 (1984);

       2. Plaintiff’s expert did not violate the Court Order. He still works at and

          has privileges at the hospitals that he mentioned and is simply no longer

          an employee or affiliated. He has filed a Motion to Dismiss in that matter.

       3. Defendant’s assertion that because Dr. McCullough’s opinion is not in line


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            with the CDC’s website (which they refer to as “prevailing scientific

            consensus”) means that his scientific opinion is irrelevant based upon

            Jacobson v. Massachusetts, 197 U.S. 11 (1905), shows that their argument

            goes only to the weight of his declaration, not its admissibility.

      Dr. McCullough’s expert declaration, which establishes that the vaccines

required for defendant’s students, but not their faculty, are not only ineffective, but

also potentially dangerous with many side effects which are unknown, in direct

contrast with the “common knowledge” referred to in Jacobson. His declaration

should be allowed and defendants' motion DENIED. Supporting documents have been

attached.

                                                 Plaintiffs, by their attorney,



                                                   /s/ Ryan P. McLane
                                                 Ryan P. McLane, Esq. (Juris: 438176)
                                                 McLane & McLane, LLC
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                                             2
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                                        CAUSE NO. DC-21-09699
    BAYLOR SCOTT & WHITE HEALTH                          §             IN THE DISTRICT COURT OF
    and HEALTHTEXAS PROVIDER                             §
    NETWORK,                                             §
                                                         §
          Plaintiffs,                                    §
                                                         §                  DALLAS COUNTY, TEXAS
    v.                                                   §
                                                         §
    PETER A. MCCULLOUGH, M.D.,                           §
                                                         §
          Defendant.                                     §                  191st JUDICIAL DISTRICT

         DEFENDANT PETER A. McCULLOUGH M.D.’S MOTION TO DISMISS
            PURSUANT TO THE TEXAS CITIZENS PARTICIPATION ACT

TO THE HONORABLE JUDGE OF SAID COURT:
         COMES NOW, Peter A. McCullough, M.D. (“McCullough”), the Defendant in the above-

referenced matter, and files his Motion to Dismiss pursuant to the Texas Citizens Participation Act

(“TCPA”), Tex.Civ.Prac.&Rem.Code § 27.001, et seq., and in support of same would respectfully

show the Court as follows:

         a. Plaintiff Baylor Scott & White Health’s (“BSWH”)1 claims for breach of contract
            against Defendant McCullough (collectively, the “Claims”), as set forth in Plaintiff’s
            Original Verified Petition and Application for Temporary Restraining Order,
            Temporary Injunction, and Permanent Injunction (“Petition”), are based on, relate to,
            or are in response to Defendants’ right to free association and free speech on matters
            of public interest (Coronavirus and vaccines), as defined by both the TCPA, and
            caselaw interpreting it.

         b. Plaintiff BSWH cannot establish by clear and specific evidence a prima facie case for
            each essential element of the claims they bring in this suit; and

         c. Even if Plaintiff BSWH were to establish a prima facie case for each essential element
            of their claims, Defendant can establish, by a preponderance of the evidence, each
            essential element of a valid defense to Plaintiff’s claims.




1
 Plaintiffs Baylor Scott & White Health and HealthTexas Provider Network are collectively referred to as
“BSWH/HTPN.”
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                                                 I.
                                            Introduction


1. The Claims should be dismissed pursuant to the TCPA because they relate to, or are in response

to, Defendants’ exercise of their rights of association and free speech by communicating on a

matter of public interest as defined by the TCPA. Tex. Civ.Prac.&Rem.Code § 27.005(b)(1), (3).

Communication is defined as “the making or submitting of a statement or document in any form

or medium, including oral, visual, written, audiovisual, or electronic.” Id. § 27.001(1).

2. Under the TCPA, a party may file a motion to dismiss a legal action that is “based on, relates

to, or is in response to a party’s exercise of the right of free speech, right to petition, or right of

association. Id. §27.003(a). The TCPA statute provides a two-step procedure to expedite the

dismissal of claims brought to intimidate or intended to silence a defendant’s exercise of his/her

First Amendment rights. ExxonMobile Pipeline Co. v. Coleman, 512 S.W.2d 895,898 (Tex. 2017).

3. Under the 1st step, the movant has the burden to show, by a preponderance of the evidence, that

the nonmovant’s legal action is based on, relates to, or is in response to the movant’s exercise of

the right of free speech, right to petition, or the right of association. Id. §27.005(b). The Act

defines the exercise of free speech as a communication made in connection with a matter of public

concern. Id., §27.001(3). The exercise of the right to petition is a communication in connection

with an issue under consideration or review by a governmental body. Id., §27.001(4). The exercise

of a right of association is a communication between individuals who join together to collectively

express, promote, pursue, or defend common interests relating to a governmental proceeding or a

matter of public concern. Id. Id., §27.001(2). A matter of public concern is defined as “the making

or submitting of a statement or activity regarding: (A) a public official, public figure, or other

person who has drawn substantial public attention due to the person’s official acts, fame, notoriety,
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or celebrity; (B) a matter of political, social, or other interest to the community; or (C) a subject of

concern to the public.” Id., §27.001(1). The Texas Supreme Court held in its Coleman and

Starside2 decisions that the reach of the TCPA is to both public and private communications, citing

§ 27.011.

4. The TCPA motion must be filed no later than the 60th day after the date of service of the legal

action and a hearing must be set not later than the 60 th day after the date of service of the motion.

Tex.Civ.Prac.&Rem.Code §27.003(b), 27.004(a). This motion is timely brought by Defendant

McCullough.

5. The movant bears the initial burden to show by a preponderance of the evidence that the action

“is based on, relates to, or is in response to the party's exercise of” the right of free speech, petition,

or association. Id. §§ 27.003, 27.005(b); Lipsky, 460 S.W.3d at 586. If the movant satisfies this

“first prong,” the trial court must dismiss the action unless the party who brought the action

“establishes by clear and specific evidence a prima facie case for each essential element of the

claim in question.” TCPA ; Lipsky, 460 S.W.3d at 587; see also Pickens v. Cordia, 433 S.W.3d 179,

183 (Tex. App.–Dallas 2014, no pet.) (movant bears initial burden on first prong of section 27.005).


6. The filing of the TCPA motion stays all pending discovery and suspends all deadlines until the

motion is heard and ruled upon by the court. Id. §27.003(c). The court must rule on the motion

no later than the 30th day after the hearing, or the motion is considered overruled by operation of

law. Id. §27.005(a), §27.008(a).




2
    Adams v. Starside Custom Builders, LLC, 547 S.W.3d 890 (Tex. 2018).
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7. A movant may take an interlocutory appeal from the trial court’s denial of a TCPA motion, and

such expedited appeal stays all proceedings in the trial court pending disposition of the appeal. Id.

§27.004(a); §51.004(a)(12).

8. Upon dismissal of claims under the TCPA, the movant may recover its reasonable attorneys’

fees and expenses defending against the legal action. Id., §27.009(a)(1). Additionally, the statute

provides the court shall award sanctions against the party who brought the legal action as the court

determines sufficient to deter the party from bringing similar actions in the future.                             Id.,

§27.009(a)(2).

                                                  II.
                                   Basis for TCPA Motion to Dismiss3

9. The TCPA provides its own definition of the “exercise of the right of free speech.” Adams v.

Starside Custom Builders, LLC, 547 S.W.3d 890 (Tex. 2018).

        Any notion that courts should read implicit limitations into the TCPA definitions derived
        from broader statutory or jurisprudential context has been put to rest by the Texas Supreme
        Court’s precedents (discussing ExxonMobil Pipeline v. Coleman, 512 S.W.3d 895, 899-
        902 (Tex. 2017) and Lippincott v. Whisenhunt, 462 S.W.3d 507 (Tex. 2015)), Elite Auto
        Body LLC v. Autocraft Bodyworks Inc., 520 S.W.3d 191 (Tex.App.-Austin 2017, pet.
        dism’d), see also Serafine v. Blunt, 466 SW.3d 352 at 377-79 (Tex.App.-Austin 2015, no
        pet.) (Pemberton, J., concurring).
        Grant v. Pivot Technology Sols., Ltd., 556 S.W.3d 865, 872 (Tex.App.-Austin 2018).
10. BSWH’s lawsuit is its attempt to prevent Defendant McCullough from freely associating with

other medical and governmental officials to discuss matters of public interest, namely, the

Coronavirus pandemic, and the vaccination and treatment of Covid-19 patients infected with the

virus. The attempt to restrict McCullough’s ability to speak on these matters directly implicates



3
  In submitting this Motion to Dismiss under the TCPA, McCullough relies upon the Petition, the declarations of
McCullough and Clark and attached exhibits filed contemporaneously with this Motion, all of which are
incorporated herein by reference.
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both the right of free speech and association on matters of public interest, namely, communications

between individuals who join together to collectively express, promote, pursue, or defend common

interests on a matter of public concern, whether on social media, at governmental hearings and

medical professional hearings or on social media websites. See, Backes v. Misko, 486 S.W.3d 7,

17 (Tex.App.-Dallas 2015, rev. den.) (posting on social media); Ex parte Tucci, 859 S.W.2d 1,

(Tex. 1993) (“The fact that vigorous debate of public issues in our society may produce speech

considered obnoxious or offensive by some is a necessary of that freedom [of speech]”).


                                                     III.
                         Factual Background to TCPA Motion to Dismiss4


11. BSWH’s petition seeks injunctive relief against McCullough based on his alleged breach of a

confidential separation agreement’s provision that he is not affiliated or employed by Baylor

following his departure from BSWH. See Petition, Introduction, pg. 1. According to BSWH,

McCullough has breached this “dozens, if not hundreds, of times …by impermissibly, improperly,

and inaccurately claiming he is affiliated with BSWH in media interviews, online biographies, and

elsewhere.” Id. The claimed basis for BSWH’s suit is to prevent McCullough from continuing to

confuse the media, the medical community, and the public about his affiliation with BSWH. Id.,
                                                                   5
pg. 2. BSWH is also seeking to recover $1M in damages                  for the alleged confusion caused by

McCullough’s references to Baylor as his former employer.

12. According to BSWH, since February 24, 2021, McCullough has conducted interviews in print

and video appearances on television shows, podcasts, published videotaped presentations and other



4
 See note 2, infra.
5
 BSWH/HTPN also indicates that it will seek return of monies previously paid to McCullough under the Settlement
Agreement.
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recordings, as well as published written information in journals, news articles, professional profiles

and social media where he has allegedly indicated his affiliation with BSWH. Id. pg. 4, ¶ 10.

13. BSWH’s Petition incorporates screenshots of purported interviews and video in which he is

referenced as a cardiologist and vice chief of medicine at Baylor. Id., pp. 5-7.

14. BSWH’s Petition acknowledges that under the terms of the settlement agreement, McCullough

continues to be on its active staff with full privileges at its hospital facilities, Baylor University

Medical Center and Baylor Heart and Vascular Hospital Id., p. 46

15. Until at least July 5, 2021, nearly five (5) months after the separation agreement was executed,

BSWH continued to show a picture of McCullough and his credentials on its own website. 7

Further, McCullough’s private practice office is located on the campus within Baylor University

Medical Center, which Baylor had prior knowledge of when the Settlement Agreement was signed.

16. Virtually all of the purported proof of violations set forth in BSWH’s Petition involve

McCullough speaking about the Coronavirus pandemic, Covid-19 patients, vaccinations and

treatment of Covid-19. McCullough requests the Court to take judicial notice that these topics are

“matters of public concern or interest.” None of BSWH’s proffered proof shows that McCullough

personally has held himself out as being affiliated with Baylor-instead, any references to his

affiliation with Baylor are made by third party media, over which he has no control. In fact, since

his separation from BSWH, McCullough has not claimed a previously held title as being active,

and has issued disclaimers that any opinions expressed are his own, and not that of any other

organization. See McCullough declaration.



6
  See last sentence of quoted Separation of Employment text reproduced following paragraph 8 which states
“nothing shall preclude Employee from being a member of the medical staff at BUMC or BHVH.”
7
  See exhibit 1 attached to Clark declaration (webpage captured by Wayback machine)
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17. On the worldwide Web, there are an estimated 800,000 websites maintained by third parties

other than McCullough which reference him having some capacity or affiliation with Baylor, and

there are approximately 16 million hits for those websites.8           All of McCullough’s video

appearances and twitter feed show a disclaimer that any opinions are his own, and not of any

organization. See exhibits D, E, and F appended to declaration of McCullough.

18. By seeking to enforce the settlement agreement and the filing of this litigation, BSWH is trying

to prevent McCullough from speaking or voicing his opinions relating to the Covid virus,

vaccinations and treatment of Covid patients, all of which are matters of public concern TCPA,

Tex.Civ.Prac.&Rem.Code §27.001(7); Abatecola v. 2 Savages Concrete Pumping LLC, 2018 WL

3118601 (Tex.App.-Houston [14th Dist.] June 26, 2018, pet. den. Mar. 1, 2019) (holding TCPA

applied to communications relating to hiring of former employee with noncompete). See also, The

Perilous Censoring of Dr. Peter McCullough, Starkman www.starkmanapproved.com, (Aug. 1,

2021); July 30, 2021 statement of Sharla Winters, RN, BSN appended as exhibit 2 to Clark

declaration (Dr. McCullough has not used “verbal or written words to falsely represent himself or

any BSWH owned entity over the course of the pandemic); transcript of Stew Peters show,

appended as exhibit 4 to Clark declaration.

19.        In doing so, Baylor’s legal action violates the TCPA by seeking to restrain communications

which inhibit McCullough’s right of free speech and his right of association. Id. See, Adams v.

Starside Custom Builders, LLC, 547 S.W.3d 890, 895-96 (Tex. 2018) (holding statements in blog

were related to builder’s services in the marketplace, thus a communication on a matter of public

concern under the TCPA).




8
    See McCullough declaration and exhibit 5 to Clark declaration
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                                                         IV.
      McCullough Can Establish A Prima Facie Case Supporting His Affirmative Defenses


20.      Even if BSWH can meet its burden of establishing by clear and specific evidence9 the

prima facie elements of its Claims against Defendants, McCullough can establish, by a

preponderance of the evidence, the elements of his affirmative defenses, freedom of speech under

the U.S. and Texas Constitutions, and the right to associate with other medical professionals,

governmental panels, and the media. See, Calvillo v. Gonzalez, 922 S.W.2d 928, 929 (Tex. 1996)

(holding exclusive contract with hospital justified, as matter of law, interference with another

party’s business relations).

21. Here, the facts show that BSWH itself continued to show McCullough as associated with it

on its website. (Clark declaration, exhibit 2). Further, the settlement agreement quoted in the

petition acknowledges that McCullough continues to have full privileges at Baylor facilities and

an office in the Baylor complex of buildings (McCullough declaration).

22. BSWH’s proof fails to establish that McCullough, as opposed to independent third party

media, held himself out as continuing to be affiliated with BSWH. To the contrary, McCullough’s

proof shows a disclaimer of any affiliated organizations in his video appearances. (McCullough

declaration, exhibits D-F).

23. By bringing this litigation, BSWH is seeking to chill McCullough’s exercise of his right of

free speech because it doesn’t agree with his opinions and testimony before the U.S. Senate and




9
  In Abatecola v. 2 Savages Concrete Pumping LLC, 2018 WL 3118601 (Tex.App.-Houston [14th Dist.] June 26,
2018, pet. den. Mar. 1, 2019), the 14th Houston Court of Appeals held that general allegations reciting the elements
of the cause of action are insufficient to meet this burden of proof; rather the nonmovant must present enough detail
to show the factual basis for its claim.
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Texas Senate relating to Covid-19, vaccinations10 and treatment for Covid-19 patients. BSWH’s

suit also seeks to stifle McCullough’s ability to associate with like-minded medical professionals

and the media on these matters.

24. The justification defense is based on either the exercise of one’s own legal rights or a good

faith claim to a colorable legal right, even though that claim ultimately proves to be mistaken.

Sakowitz Inc. v. Steck, 669 S.W.2d 105, 107 (Tex. 1984) overruled on other grounds, Sterner v.

Marathon Oil Co., 767 S.W.2d 686, 690 (Tex. 1989); Texas Beef Cattle Co. v. Green, 921 S.W.2d

203, 211 (Tex. 1996). If BSWH can show any proof that McCullough held himself out as being

affiliated with Baylor, he was justified in doing so based on his continuing privileges at Baylor’s

medical facilities and Baylor’s own advertising of him on its website.

25. McCullough has established his affirmative defenses to BSWH’s claims of justification and

communications on a matter of public interest in the exercise of his freedom of speech and the

right to freely associate guaranteed under the U.S. and Texas Constitutions.

26. Further, these same facts also support an additional affirmative defense of McCullough,

BSWH’s unclean hands, by continuing to advertise him as an affiliate of Baylor on its own website

for nearly 4½ months after the separation agreement was executed. A party with unclean hands is

not entitled to equitable relief. See, Owens-Illinois v. Webb, 809 S.W.2d 899, 902 (Tex.App.-

Texarkana 1991, writ dism’d woj); Landry’s Seafood Inn & Oyster Bar-Kemah, Inc., 919 SW 2d

924, 927 (Tex App.-Houston (14th Dist.) 1996) (delay in bringing declaratory action after default

in lease constituted unclean hands justifying denial of temporary injunction). Under these

circumstances, Baylor’s legal action to enforce the terms of the settlement agreement is both


10
  On the day Baylor filed this action v. McCullough, it issued a press release that it was requiring mandatory Covid-
19 vaccinations for its workforce. Clark declaration, attaching DMN news article as exhibit 6
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unconscionable and unclean. Baylor is barred from proceeding with this litigation under the

unclean hands defense, since “he who seeks equity, must do equity.”

                                               V.
                                            Conclusion


          For all of the foregoing reasons, the Court, upon hearing, should dismiss BSWH’s Claims

against McCullough pursuant to the TCPA, award him his reasonable attorneys’ fees and expenses

incurred in defending this matter, and award sanctions against BSWH which the Court deems

appropriate to deter similar conduct by Baylor against other former medical professionals in the

future.


                                                     Respectfully submitted,




                                                     By: __________________
                                                     Steven E. Clark
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                                                     ATTORNEYS FOR DEFENDANT
                                                     PETER A. McCULLOUGH, M.D.
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                              CERTIFICATE OF CONFERENCE
       I hereby certify that on August 5, 2021, I sent an email to Jennifer Richards, to ascertain

whether they opposed to the relief requested. Plaintiff’s counsel has not responded at the time of

filing this motion.




                                                    Steven E. Clark


                                CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the above and foregoing document has been

served on Plaintiff’s counsel via email and efile on this 5th day of August 2021 at the email

addresses below:

        Jennifer Salim Richards
        James M. Stanton
        Jose Portela
        Stanton LLP
        1717 Main St., Suite 3800
        Dallas, TX 75201
        Counsel for Plaintiff




                                                Steven E. Clark
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                                     CAUSE NO. DC-21-09699

 BAYLOR SCOTT & WHITE HEALTH                       §            IN THE DISTRICT COURT OF
 and HEALTHTEXAS PROVIDER                          §
 NETWORK,                                          §
                                                   §
          Plaintiffs,                              §
                                                   §                DALLAS COUNTY, TEXAS
 v.                                                §
                                                   §
 PETER A. MCCULLOUGH, M.D.,                        §
                                                   §
          Defendant.                               §                191st JUDICIAL DISTRICT


                            DECLARATION OF STEVEN E. CLARK

STATE OF TEXAS                  §
                                §
COUNTY OF DALLAS                §

         I, Steven E. Clark, declare as follows:
      1. My name is Steven E. Clark. I am over the age of twenty-one years, and capable of making
         this declaration. The facts and statements made herein are within my personal knowledge
         and are true and correct.
      2. I am an attorney licensed to practice law in the State of Texas. I was retained by Defendant
         Peter A. McCullough to represent him in this matter. I submit this declaration in support
         of Defendant’s Motion to Dismiss pursuant to the Texas Citizen’s Participation Act
         (“TCPA”).
      3. In my capacity as counsel for McCullough, I was able to obtain a screenshot of Plaintiff’s
         website as of July 5, 2021, which shows McCullough’s picture, credentials and affiliation
         with Baylor. A true and correct copy is attached as exhibit 1, and incorporated herein by
         reference.
      4. My associate, Matt Altick, who is assisting me on this matter, received a signed written
         statement from Sharla Winters, RN, BSN dated July 30, 2021, which indicates that
         McCullough has not personally held himself out as being affiliated with Baylor in written,
         video or social media. A true and correct copy is attached as exhibit 2, and incorporated
         herein by reference.
      5. Attached hereto as exhibit 3 is a true and correct copy of an article published on the
         worldwide web, entitled The Perilous Censoring of Dr. Peter McCullough, Starkman
         www.starkmanapproved.com, (Aug. 1, 2021).
      6. Attached hereto as exhibit 4 is a true and correct copy of the transcript from Dr.
         McCullough’s appearance on the Stew Peters show where he corrected him about his
         affiliation with BSWH which the editors cut out.


Declaration of Steven E. Clark                                                                Page 1
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   7. Attached hereto as exhibit 5 is a true and correct copy of the article entitled Health Freedom
      Defense Fund Stands By Dr. Peter McCullough, https://healthfreedomdefense.org (Aug. 1,
      2021) from the worldwide web.
   8. Attached as exhibit 6 is a true and correct copy of the news article from the Dallas Morning
      News about the filing of Baylor’s lawsuit.
   9. Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing facts and
      statements in this Declaration are true and correct.
       Executed this 5th day of August, 2021.

                                                     __________________________________
                                                     Steven E. Clark




Declaration of Steven E. Clark                                                               Page 2
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                                             EXHIBIT 1
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  EXHIBIT 2
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                                                                  EXHIBIT 3

T


          The Perilous Censoring of Dr. Peter McCullough

                                        •   FITNESS

       RILOUS CENSORING
August 1, 2021 — MEDIA, MEDICAL, PEOPLE, POLITICS


Back in 1633 there was a guy named Galileo Galilei who was deemed a nut job by the
Catholic Church because of his heretical belief the Earth revolved around the sun.
Galileo was sentenced to house arrest and ordered never again to teach his heresy.
Centuries later the Church apologized, and Albert Einstein declared Galileo, “the father
of modern science.”

In 1846 a Hungarian doctor named Ignaz Semmelweis was fired and declared a nut job
for his preposterous advocation that hand washing was one of the most important tools
in public health, particularly for surgeons. Semmelweis took so much abuse from the
medical establishment that he wound up in an asylum.

In the early 40s a cardiologist named Bernard Lown was expelled from Johns Hopkins
School of Medicine because he protested medical segregation by altering blood-bottle
labels that denoted donors’ race. Decades later Lown invented the defibrillator, which
has saved countless lives. In 1973, he founded The Lown Institute, a think tank focused
on ground-breaking research to improve the quality of U.S. healthcare.




                                        Screenshot from PBS Galileo Special
Some of the greatest minds since the world was flat were scientists and doctors
persecuted and shunned because they saw or interpreted things differently. That’s why
they are heralded as visionaries. Widely held beliefs often are proven wrong, and on
Wall Street the rare few with 20/20 vision profit handsomely. The CEO of Enron graced
the covers of business magazines and was heralded by the folks at McKinsey as a
business genius until a trader who specialized betting against conventional
wisdom studied the company’s regulatory filings and determined it was a fraud. Harry
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Markopolos, a financial analyst repeatedly warned the SEC that famed investor Bernie
Madoff was running a Ponzi scheme, but he too was deemed a nut job.

Jeff Bezos at the turn of the century was uniformly doubted by analysts and the media
who said Amazon could never be profitable. Investors who ignored the naysayers likely
aren’t reading this commentary.

Dr. Peter McCullough, a cardiologist who prior to Covid was among the most respected
in his field, is a modern-day doctor who the medical establishment, the government, and
the media want silenced. His views are very controversial, and I don’t have the scientific
or medical expertise to evaluate them. But I know quite a bit about one of the hospitals
where McCullough trained and one of the cardiologists who trained him.

His name is Joel Kahn, and he was a public champion of my critical reporting about
Michigan’s Beaumont Health when it wasn’t yet widely known how extensive cost-
cutting had irreparably harmed the company’s flagship hospital. McCullough did his
fellowship under Kahn when they both worked at Beaumont. Kahn, who has a
considerable national following promoting the merits of a plant-based diet and other
heart-healthy lifestyle measures, has supported and advocated McCullough’s views.
LinkedIn has censored several of Kahn’s posts highlighting what he says are alarmingly
high deaths and other serious complications from COVID vaccines. Kahn admirably
doesn’t delete highly critical comments on posts that escape LinkedIn’s censors,
including personal attacks calling him a “quack” and advocating the hashtag
#canceljoelkahn.




McCullough and Kahn have put themselves at great financial and professional risk.
McCullough’s previous employer, a hospital whose foundation established a scholarship
in his name, last week sued him for more than $1 million, alleging that McCullough has
repeatedly misrepresented to the media he still works there and that it has been harmed
by the association. McCullough’s lawyer issued a statement saying the lawsuit was a
“politically motivated attempt to silence Dr. McCullough.” The Federation of State
Licensing Boards last week issued a warning that physicians who post COVID
misinformation on social media could lose their medical licenses, so more punishment
could be in the offing.
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It’s understandable why McCullough’s former employer, which filed its lawsuit on the
same day it announced it was requiring all its employees to be vaccinated, no longer
wants anything to do with him. McCullough maintains the COVID vaccine doesn’t
protect against the Delta variant and isn’t necessary for people under age 50. He’s also
very critical of health authorities for focusing on how best to stop the spread of COVID
rather than how best to treat it. A rebuttal to some of McCullough’s positions can be
found here.

The corporate media, which is so sycophantic to the Biden Administration that CNN
anchor Brian Stelter shamelessly asked press secretary Jen Psaki how reporters could
do a better job covering the president, has its own agenda wanting McCullough
destroyed. The corporate media is fueling the narrative that the unvaccinated are
moronic Trump supporters who watch FOX news, when in fact a significant
percentage are Blacks and Hispanics. McCullough has made regular appearances on
FOX, including on Tucker Carlson and Laura Ingraham, so discrediting McCullough
serves the double purpose of also discrediting FOX, which attracts a considerably
bigger audience than the other cable networks.




                      Joel Kahn
On paper at least, it’s hard to dismiss McCullough as a quack. According to a bio posted
on the US Cardiology Review, he is recognized internationally as a leading authority on
chronic kidney disease as a cardiovascular risk state, having published more than 1,000
papers and garnered more than 500 citations in the National Library of Medicine. He
also is a founder of the Cardio Renal Society of America, an alliance of cardiologists
and nephrologists focused on cardiorenal syndromes. He was previously co-editor of
Reviews in Cardiovascular Medicine and served as Chair of the National Kidney
Foundations’ Kidney Early Evaluation Program, among the largest screening efforts for
chronic diseases. Notably, McCullough was a significant philanthropic donor to his
former employer. (I wonder whether the hospital will return those funds.)

Kahn has previously sounded alarms that proved prescient. In 2019, he posted a
commentary on Medium predicting that interventional cardiologists wouldn’t curtail their
lucrative stent procedures despite a massive study documenting they weren’t beneficial
for patients who were stable. The influential Journal of the American Medicine two
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weeks ago published a paper confirming Kahn’s prediction was spot on. Inserting stents
are among the most profitable hospital procedures.

My familiarity with Kahn began a year ago last April when I began writing a series of
very critical stories for Deadline Detroit about Beaumont and its management,
particularly CEO John Fox. Underscoring the degree Beaumont doctors feared Fox,
most were afraid to sign a petition protesting his leadership. However, when given the
opportunity to respond to an anonymous survey, it was revealed that a majority of
doctors had little confidence in Fox and his deputies, particularly those working at the
company’s once nationally respected flagship hospital.

Kahn showed courage. Despite having an affiliation with Beaumont, he tweeted my
articles and linked to them on social media, giving them a certain validity. Deadline
Detroit, an independent online publication, wasn’t known for healthcare reporting and
many local residents were suspicious of my reporting because other local outlets
ignored it. Kahn’s support allowed my articles to gain traction and without it I’m not sure
they would have achieved impact or recognition. I ultimately garnered an award for my
coverage.

Courage possibly is in the DNA of Beaumont’s once nationally respected cardiology
department. One Harvard-trained cardiologist sent multiple letters to Beaumont’s
directors and trustees calling for Fox’s firing and pretty much called him a liar. The co-
heads of the cardiology department wrote a letter to the chair of the hospital network
warning him they had “serious concerns” about the company Beaumont was
outsourcing its anesthesia services to. The warnings weren’t heeded and within three
weeks of the outsourcing company taking over, a patient undergoing a routine
colonoscopy died from intubation complications and another landed in the ICU because
of a pain medication overdose. The outsourcing company, NorthStar Anesthesia, is
owned by a holding company whose previous CEO was Jeffrey Zients, who
is overseeing the president’s pandemic response.




                                    John Fox
McCullough, Kahn, and other physicians who are increasingly sticking their necks out
and daring to challenge the CDC’s COVID and vaccination data, may all be badly
mistaken. However, what history abundantly teaches is that censorship, however noble
the original motivation, is never isolated to the original cause. Some governments have
already used their “fake news” laws to combat vaccine misinformation for other political
purposes.
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The U.S. healthcare system is compromised and conflicted, and most doctors today are
employees of healthcare networks or companies controlled by private equity. There are
some physicians willing to speak out about how the corporatization of healthcare is
harming patient safety while driving up prices. Rest assured, if McCullough and Kahn
are silenced, so will others whose views the government and medical establishment
doesn’t like. The corporate media can be counted on to abet the efforts or turn a blind
eye to them, much like they did with my Beaumont reporting.

I, too, have experienced personal and unfounded attacks from powerful healthcare
executives. Beaumont’s CEO called me a “psycho,” a “mudslinging machine,” and
alleged that I had secret Russian connections. (My response can be found here.) Fox,
who has made more than $20 million since being named CEO in 2016 and stands to
make tens of millions more if he can successfully merge Beaumont into Spectrum
Health, is representative of many MBA suits running U.S. hospitals.

The Biden Administration, the CDC, and Dr. Fauci don’t have the pandemic under
control. The real issue isn’t contrarian doctors like McCollough and Kahn, but America’s
very poor leadership and the corporate media’s failure to hold the president
accountable. Biden promised to end COVID and for those with short memories, here
was his plan.
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Stew Peters 0:02

You may know Dr. Peter McCullough, you may know the name from the Hill or from Fox News. You
might know him from here. He appeared on this program recently and he's being sued now. That's all
about messaging; messaging is very important. Fear has been involved with the messaging around the
control of virus since inception since it was leaked from the lab in Wuhan, when we were all being called
conspiracy theorists for saying so but fear is what makes people put masks over their faces. Keep six feet
away from people that they love, shut down their local business, put a mask on the face of their children
for 10 hours a day while they're at school, even outdoors. I mean, fear is what's pushing people to do
things that they would never normally dream of doing. And now there's a whole new kind of fear and it's
the fear of being an expert, and then being targeted for not conforming to these draconian lockdowns
for telling people about the risks of masking or being hesitant to subjecting themselves to a shot of Only
God knows what will land these experts on a list of disruptors, the disinformation dozen purveyors of
misinformation, there'll be recognized as the land's most dangerous people.

Stew Peters 1:03

Dr. Peter McCullough appeared on this program recently, and as a result of that appearance, he's being
sued by Baylor Scott and White health system. He's being sued because on the screen down here, it said
that Dr. Peter McCullough was the vice chair of medicine at Baylor that was on the screen while he
warned Americans about the dangers associated with these inoculations being falsely referred to as
vaccines. That was information that our producers pulled from a public set of results after searching for
Dr. McCullough's History prior to his appearance on the show. That is what journalists do.

Stew Peters 1:37

Who is this guy? Why should he be listened to? Why should? Why should I listen to him while he's
opining on this stuff? That is what we do. I went to introduce Dr. McCullough using that publicly
available information and he corrected me he stopped me we had to start over. But the producers
overlooked the screen. Now he's being sued.

Stew Peters 1:59

Dr. McCullough is an internist a cardiologist, epidemiologist and professor of medicine at Texas A&M
College in Dallas, Texas. He maintains ABIM certification in internal medicine and cardiovascular
diseases. He practices both internal medicine including the management of common infectious diseases,
as well as the cardiovascular complications of both the viral infection itself and the injuries developing
after the COVID-19 shot being falsely referred to as a vaccine.

Stew Peters 2:27

Since the outset of the plandemic, Dr. McCullough has been a leader in the medical response to the
COVID-19 disaster, and has published pathophysiological basis and rationale for early outpatient
treatment of SARS, COVI-2, COVID-19 infection. That was the first synthesis of sequenced multi drug
treatment of ambulatory patients infected with SARS COVI-2 in the American Journal of Medicine and
subsequently updated and reviews and cardiovascular medicine. He has 46 peer reviewed publications
on the infection, and has commented extensively on the medical response to the crisis in the Hill and on
the Fox News channel.
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Stew Peters 3:07

Now, Dr. McCullough signed a Separation Agreement with Baylor around February 4, 2021. And he has
abided by it and has never claimed any prior positions or employment with Baylor Scott and White
Health System. We made an error and as a result of our error by using publicly discoverable information,
he is being sued. He works in a private practice nonetheless, within the same Baylor University Medical
Center, and he cares by the way for the same patients in the same hospital with full privileges, but that
should not matter. Baylor Scott and White kept him up on their website until mid July creating a whole
bunch of confusion with hundreds of media personnel, including me.

Stew Peters 3:50

They announced the lawsuit. The day they announced the ill advised COVID-19 mandatory vaccination
program for their 40,000 employees, many of which whom do not want this shot. Now, before serving a
legal complaint on Dr. McCullough, Baylor Scott and White released a memo to the press that they
would be suing him. Why would they do that?

Stew Peters 4:16

Because it's nothing less than an attack on Dr. McCullough's character meant to discredit Dr.
McCullough and save face for the globalists at Baylor and the people who fund them and nothing less.
That is disgusting. Dr. McCullough's record and accomplishments speak for themselves. He's one of the
only honest doctors with big enough balls to come forward with bravery and warn the public to stay out
of the way of what appears to be one of the most deadly rollouts of a so called vaccine in world history.

Stew Peters 4:48

As one of America's leading physicians on the early treatment of COVID-19, his protocols and scientific
works are relied upon to help millions around the globe. Along with half of Americans Dr. McCullough
has appropriate concerns over COVID-19 shot safety and efficacy. Dr. McCullough is a prominent
graduate of Baylor University, with an endowed scholarship in his name. He is commonly associated as a
point of pride for Baylor. The Baylor Scott and White Health System Foundation has been appreciative of
Dr. McCullough's generosity over the years as a major philanthropy donor to the system.

Stew Peters 5:28

And a current active member of medical staff for both Baylor University Medical Center and Baylor
Heart and Vascular hospital with his office on campus, Dr. McCullough is associated on public internet
platforms and groups with countless links and mentions to Baylor Scott and White Health System. We
are real sorry for making that misappropriation and putting that little thing right here on the screen.

Stew Peters 5:50

As the national crisis has drawn on the world, Dr. McCullough has been heavily relied upon in the media
for his scientific interpretation of the data and his accurate assessment of the situation. Dr. McCullough
has not falsely represented himself as a spokesperson for Baylor Scott and White. Nor has he publicly
claimed past senior leadership roles at any prior institution with more than 800,000 3rd party internet
profiles, and 16 million hits in Google.
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Stew Peters 6:20

Dr. McCullough's views have always been represented as his own and not those of any organization.
Many fellow physicians, nursing staff, and most importantly, patients are outraged and rightfully so,
over Baylor Scott and White's attempt to damage McCullough's reputation and censor his important
views to America and the world. During this time of crisis, free speech and scientific discourse are the
bedrock of progress in medicine. And Baylor Scott and White's ill advised lawsuit is an attack on civil
liberties with serious implications on public health and policy far beyond the lawsuit.

Stew Peters 7:00

Now, if you feel like you'd like to send your opinion to those involved with this political targeting of Dr.
McCullough, I am providing a list, a key email list of Baylor Scott and White leaders and their
antagonistic external counsel at StewPeters.tv, go to StewPeters.tv right now and that email list is
available. We'll be back right after this.



Unofficial Transcript by Monique Selby. Last accessed August 4, 2021
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                                       EXHIBIT 5
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                                                                                                          EXHIBIT 6

      BAYLOR SCOTT & WHITE HEALTH


      System sues vaccine skeptic
      Doctor says it’s bid to silence him for his COVID-19
      views




       Baylor Scott & White Health says Dr. Peter McCullough continues claiming
       affiliation with the system. His attorney says third parties are to blame. (Baylor
       Scott & White Health)


      By KEVIN KRAUSE
      Staff Writer
      kkrause@dallasnews.com



      Dr. Peter McCullough has had no shortage of opportunities to discuss his
      controversial views about COVID-19 vaccines on television and the internet.

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      Contrary to medical consensus, the Dallas physician has stated that people under
      age 50 with no health risks do not need the COVID-19 vaccine, according to court
      records. And he said this month on a Fox News show hosted by Laura Ingraham
      that the vaccines don’t protect against the delta variant and there’s “no clinical
      reason to go get vaccinated.”
      His former employer, Baylor Scott & White Health, says it has no problem with
      McCullough expressing his views.

      But the health care giant says it wants him to stop claiming to be affiliated with the
      system.
      Baylor sued McCullough on Wednesday in Dallas County district court, alleging he
      continues to use his former Baylor titles, including vice chief of internal medicine
      at Baylor University Medical Center, in violation of a February separation
      agreement.

      Clinton Mikel, an attorney for McCullough, said in a statement Thursday that his
      client is limited by what he can say due to the settlement agreement. Mikel called
      the lawsuit frivolous and a “politically motivated attempt to silence Dr.
      McCullough.”

      Since signing the settlement agreement, McCullough has never stated that he is
      employed by or affiliated with Baylor, according to his attorney. But media entities
      continue to cite his client’s former Baylor titles despite McCullough’s customary
      practice of informing producers that he no longer works there, Mikel said.

      “Every single instance referenced by Baylor is something said/printed by a third
      party with no encouragement from Dr. McCullough,” he said in the statement. “Dr.
      McCullough does not and cannot control third parties.”
      McCullough, 58, and Baylor negotiated the confidential agreement in which the
      doctor agreed to no longer state that he is employed by or affiliated with Baylor or
      any of its related entities, according to the lawsuit.

      Baylor says in its lawsuit that the doctor has breached that “key” term of the Feb.
      24 agreement “dozens if not hundreds of times since then” in media interviews,
      online biographies and elsewhere.

      “As a result, pervasive online postings and comments on Twitter and elsewhere
      wrongly associate McCullough with Plaintiffs to this day,” the breach of contract
      lawsuit says.
      McCullough’s “improper use of titles and claimed affiliations,” the lawsuit says,
      have confused the media, the medical community and the public.

      “Plaintiffs do not seek to silence McCullough,” the lawsuit says. “But his opinions
      are his and his alone.”

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      Seeking injunction
      Baylor, the largest nonprofit hospital system in Texas, is seeking over $1 million as
      well as an injunction preventing McCullough from “further misuse of titles and
      claimed affiliations,” court records show.

      Baylor filed the lawsuit on the same day it announced it was requiring all of its
      employees to be vaccinated against COVID-19 as surges in the delta variant raise
      health risks nationwide. Baylor has 40,386 full-time employees in North and
      Central Texas, and workers must be fully vaccinated by Oct. 1. The company said
      about 71% of employees have been vaccinated.

      The lawsuit does not say why McCullough, a cardiovascular disease specialist, left
      Baylor.
      Baylor Scott & White Health said in a written statement that McCullough’s views
      don’t represent those of the health care provider.

      “The lawsuit was filed to enforce this separation and avoid public confusion,” the
      statement said. “We take very seriously our responsibility to be a trusted source of
      medical information in the communities we serve.”

      Baylor says that since McCullough left the system, he has given interviews in print
      and on video in “television shows, podcasts, published videotaped presentations,
      and other recordings” and has been published in journals. In these recordings and
      publications, McCullough is mentioned as being affiliated with Baylor, the lawsuit
      says.
      Because of this, Baylor has received inquiries about “McCullough’s employment
      and affiliation status” from journalists and medical professionals, including “some
      at the most renowned healthcare institutions in the country,” according to the
      lawsuit.

      Separation agreement
      The company says in the lawsuit that the purpose of the separation agreement was
      to avoid such confusion and questions about whether Baylor supports
      McCullough’s opinions. Baylor says the confusion will likely cause it “irreparable
      reputational and business harm.”
      “This is particularly true in the middle of a global pandemic,” the lawsuit says.

      Most of McCullough’s media interviews in question relate to his opinions about the
      COVID-19 vaccines, the lawsuit states.

      Baylor says in the lawsuit that its medical experts have carefully studied available
      data and recommend that everyone who is eligible for the vaccines receive them in
      accordance with Centers for Disease Control and Prevention guidelines.

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      The lawsuit includes screen grabs of tweets attributing to McCullough the false
      claim that COVID-19 vaccines have killed up to 50,000 Americans. The physician
      also has been criticized for some of his other views on COVID-19 treatments.
      Several doctors with the Texas chapter of nonprofit Doctors for America said in a
      letter published in December in The Dallas Morning News that McCullough gave
      “baseless, misleading commentary” promoting the use of hydroxychloroquine as
      “an early outpatient treatment for patients with COVID-19.” Studies have shown
      that use of the drug has been linked to “higher rates of harm,” the doctors wrote.

      Baylor says in its motion for a restraining order that it’s unclear whether patients
      are avoiding the hospital due to the “false affiliations.” But the “online deluge of
      stories and comments” as well as numerous inquiries about McCullough’s
      employment show that Baylor faces the likelihood of business and “reputational
      harm,” the lawsuit says.

      “This is not a free speech issue or stifling of dissent,” the lawsuit says. “McCullough
      can offer his opinions to whomever he wishes, but he cannot do so while claiming
      current affiliation with Plaintiffs. He bargained away that ability in the Separation
      Agreement.”

      Mikel said Baylor made no attempts to reach his client to try to resolve the matter
      before filing the lawsuit. And he said his client intends to “vigorously defend”
      himself against the lawsuit.

      Also listed as a plaintiff is HealthTexas Provider Network, a member of Baylor’s
      health care system.

      Twitter: @KevinRKrause




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                                      CAUSE NO. DC-21-09699

BSWH/HTPN SCOTT & WHITE                              §             IN THE DISTRICT COURT OF
HEALTH and HEALTHTEXAS                               §
PROVIDER NETWORK,                                    §
                                                     §
         Plaintiffs,                                 §
                                                     §                 DALLAS COUNTY, TEXAS
v.                                                   §
                                                     §
PETER A. MCCULLOUGH, M.D.,                           §
                                                     §
         Defendant.                                  §                  191st JUDICIAL DISTRICT

                    DECLARATION OF PETER A. McCULLOUGH, M.D.

STATE OF TEXAS                  §
                                §
COUNTY OF DALLAS                §

        I, Peter A. McCullough, declare as follows:
     1. My name is Peter A. McCullough. I am over the age of twenty-one years, and capable of
        making this declaration. The facts and statements made herein are within my personal
        knowledge and are true and correct.
     2. I am a licensed doctor in the State of Texas. Attached as exhibit A is my current CV.
     3. I was formerly employed by Plaintiffs (“BSWH/HTPN”), who in my opinion decided to
        end my employment with them in February, 2021, due to my expressed opinions regarding
        Covid-19 in testimony before the U.S. Senate, my efficacious treatment of Covid-19
        patients, and for other inappropriate reasons. Even though my employment was
        terminated, I still retained full medical staff privileges at two of BSWH/HTPN’s facilities,
        and have continued to treat patients there. Also, shortly after my Settlement Agreement,
        BSWH/HTPN was aware that I had joined a private cardiology practice that had offices on
        BSWH/HTPN’s campus in the Heart Institute medical office building.
     4. I signed a Settlement Agreement with BSWH/HTPN in which BSWH/HTPN agreed to pay
        me for unpaid earned bonuses from prior pay periods in exchange for my agreement not to
        sue BSWH/HTPN for various meritorious state and federal claims related to my
        termination. That Settlement Agreement incidentally included a standard provision
        requesting that I not hold myself out as currently being employed by or affiliated with
        BSWH/HTPN in any written, visual, or social media coverage. I have honored this
        agreement, and have not held myself out in any media as being currently employed by or
        affiliated with BSWH/HTPN, even though I continue to have full medical staff privileges
        at several of their facilities, treat patients at several of their facilities, have an office on one
        of their campuses, and, until recently, had a professorship at Texas A&M’s BSWH/HTPN
        campus location.
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5. On the worldwide Web, there are an estimated 800,000 websites maintained by third parties
   other than me which historically reference me as having some capacity or affiliation with
   BSWH/HTPN, and there are approximately 16 million hits for those websites. See Health
   Freedom        Defense       Fund     Stands     By     Dr.     Peter      McCullough,
   https://healthfreedomdefense.org (Aug. 1, 2021), attached herein as exhibit B. One of
   those websites was BSWH/HTPN’s, which as recently as July 5, 2021, listed my picture,
   credentials, and affiliation with BSWH/HTPN. See exhibit C, a true and correct copy of
   the BSWH/HTPN website as of July 5, 2021.
6. I have submitted disclaimers in the media since my termination by BSWH/HTPN that any
   opinions I express are my own and not that of any organization. True and correct examples
   of screenshots taken from video appearances and my Twitter account are attached as
   exhibits D, E and F.
7. I consider BSWH/HTPN’s lawsuit against me as being motivated by my expressed views
   on the Covid-19 pandemic, the efficacy of vaccinations for Covid-19, and available
   treatment for Covid-19 patients to avoid hospitalization and death. The lawsuit was filed
   on the very same day that BSWH/HTPN issued a press release announcing mandatory
   vaccinations for its entire workforce. I do not consider the timing of the lawsuit with this
   announcement to be merely coincidental on BSWH/HTPN’s part.
8. I have reviewed BSWH/HTPN’s petition filed against me, including the references and
   screenshots of media appearances by me. Any reference to my affiliation with
   BSWH/HTPN has been done by third parties involved with those media organizations, not
   by me. The Petition is devoid of evidence showing that any references to me having
   continuing affiliation with BSWH/HTPN were done by me, as opposed to the media, nor
   do I see any evidence from BSWH/HTPN that it has suffered any damage due to the
   public’s confusion over me being formerly employed by BSWH/HTPN. In fact, my
   continuing privileges at their facilities and my current office still being located within the
   BSWH/HTPN campus, the numerous historical website references to me as being part of
   BSWH/HTPN, as well as BSWH/HTPN’s own depiction of me on their own website are
   the source of any alleged confusion on the part of the public or media.
9. Apparently, a substantial number of BSWH/HTPN colleagues, as well as media have
   viewed BSWH/HTPN’s litigation against me to be an attempt to silence my views to the
   media on Covid-19, which both they and I view as political censorship. An example is the
   article, The Perilous Censoring of Dr. Peter McCullough, Starkman
   www.starkmanapproved.com, (Aug. 1, 2021).
10. Attached as exhibit G is a true and correct copy of the transcript from a recent Stew Peters
    show. In the Stew Peters show transcript, Mr. Peters recalls how I corrected him about my
    status with BSWH/HTPN, which was apparently edited and cut by the editors of that show.
    Further, Mr. Peters states that, despite my correction of him, the chyron beneath my
    interview that incorrectly listed me as being affiliated with BSWH/HTPN was NOT from
    information I provided him. Rather, he states it was from information that his staff obtained
    by Googling my name.
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11. Bolstering this, attached as exhibit H is a true and correct copy of an email I had sent to
    Stew Peters wherein I accurately portrayed my biography (without reference to being
    employed by or affiliated with BSWH/HTPN).
12. In summary, I have not used verbal or written words in the media to falsely represent
    myself as being a current or former employee of BSWH/HTPN since entering into the
    Settlement Agreement.
13. Because of the BSWH/HTPN litigation, I was forced to involve my counsel, Clinton Mikel
    and the Health Law Partners, PC, and to retain Steven E Clark and Matthew J. Altick as
    litigation counsel to defend myself in these proceedings. I have agreed to pay their
    attorneys fees and expenses, for which I seek reimbursement from BSWH/HTPN, as well
    as remaining payments owed to me under the terms of the Settlement Agreement.
Further affiant sayeth not.
Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing facts and
statements in this Declaration are true and correct.
Executed this 5th day of August, 2021.

                                  /s/ Peter A. McCullough, M.D.
                                  Peter A. McCullough, M.D., Defendant
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                                                           Exhibit A



Peter A. McCullough, MD, MPH, FACC, FACP, FAHA, FASN, FNKF, FNLA, FCRSA
Professor of Medicine, Texas A & M College of Medicine, Baylor Dallas Campus
President, Cardiorenal Society of America
Editor-in-Chief, Cardiorenal Medicine
Editor-in-Chief, Reviews in Cardiovascular Medicine
Senior Associate Editor, American Journal of Cardiology
Tagline: https://americaoutloud.com/the-mccullough-report/

        Dr. McCullough is an internist, cardiologist, epidemiologist, and Professor of
Medicine at Texas A & M College of Medicine, Dallas, TX USA. He maintains ABIM
certification in internal medicine and cardiovascular diseases. He practices both
internal medicine including the management of common infectious diseases as well as
the cardiovascular complications of both the viral infection and the injuries developing
after the COVID-19 vaccine. Since the outset of the pandemic, Dr. McCullough has
been a leader in the medical response to the COVID-19 disaster and has published
“Pathophysiological Basis and Rationale for Early Outpatient Treatment of SARS-CoV-2
(COVID-19) Infection” the first synthesis of sequenced multidrug treatment of
ambulatory patients infected with SARS-CoV-2 in the American Journal of Medicine and
subsequently updated in Reviews in Cardiovascular Medicine. He has 46 peer-
reviewed publications on the infection and has commented extensively on the medical
response to the COVID-19 crisis in TheHill and on FOX NEWS Channel. On November
19, 2020, Dr. McCullough testified in the US Senate Committee on Homeland Security
and Governmental Affairs and throughout 2021 in the Texas Senate Committee on
Health and Human Services, Colorado General Assembly, and New Hampshire Senate
concerning many aspects of the pandemic response. Dr. McCullough has had one full-
year of dedicated academic and clinical efforts in combating the SARS-CoV-2 virus and
in doing so, has reviewed thousands of reports, participated in scientific congresses,
group discussions, press releases, and has been considered among the world's experts
on COVID-19.
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Stew Peters 0:02

You may know Dr. Peter McCullough, you may know the name from the Hill or from Fox News. You
might know him from here. He appeared on this program recently and he's being sued now. That's all
about messaging; messaging is very important. Fear has been involved with the messaging around the
control of virus since inception since it was leaked from the lab in Wuhan, when we were all being called
conspiracy theorists for saying so but fear is what makes people put masks over their faces. Keep six feet
away from people that they love, shut down their local business, put a mask on the face of their children
for 10 hours a day while they're at school, even outdoors. I mean, fear is what's pushing people to do
things that they would never normally dream of doing. And now there's a whole new kind of fear and it's
the fear of being an expert, and then being targeted for not conforming to these draconian lockdowns
for telling people about the risks of masking or being hesitant to subjecting themselves to a shot of Only
God knows what will land these experts on a list of disruptors, the disinformation dozen purveyors of
misinformation, there'll be recognized as the land's most dangerous people.

Stew Peters 1:03

Dr. Peter McCullough appeared on this program recently, and as a result of that appearance, he's being
sued by Baylor Scott and White health system. He's being sued because on the screen down here, it said
that Dr. Peter McCullough was the vice chair of medicine at Baylor that was on the screen while he
warned Americans about the dangers associated with these inoculations being falsely referred to as
vaccines. That was information that our producers pulled from a public set of results after searching for
Dr. McCullough's History prior to his appearance on the show. That is what journalists do.

Stew Peters 1:37

Who is this guy? Why should he be listened to? Why should? Why should I listen to him while he's
opining on this stuff? That is what we do. I went to introduce Dr. McCullough using that publicly
available information and he corrected me he stopped me we had to start over. But the producers
overlooked the screen. Now he's being sued.

Stew Peters 1:59

Dr. McCullough is an internist a cardiologist, epidemiologist and professor of medicine at Texas A&M
College in Dallas, Texas. He maintains ABIM certification in internal medicine and cardiovascular
diseases. He practices both internal medicine including the management of common infectious diseases,
as well as the cardiovascular complications of both the viral infection itself and the injuries developing
after the COVID-19 shot being falsely referred to as a vaccine.

Stew Peters 2:27

Since the outset of the plandemic, Dr. McCullough has been a leader in the medical response to the
COVID-19 disaster, and has published pathophysiological basis and rationale for early outpatient
treatment of SARS, COVI-2, COVID-19 infection. That was the first synthesis of sequenced multi drug
treatment of ambulatory patients infected with SARS COVI-2 in the American Journal of Medicine and
subsequently updated and reviews and cardiovascular medicine. He has 46 peer reviewed publications
on the infection, and has commented extensively on the medical response to the crisis in the Hill and on
the Fox News channel.
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Stew Peters 3:07

Now, Dr. McCullough signed a Separation Agreement with Baylor around February 4, 2021. And he has
abided by it and has never claimed any prior positions or employment with Baylor Scott and White
Health System. We made an error and as a result of our error by using publicly discoverable information,
he is being sued. He works in a private practice nonetheless, within the same Baylor University Medical
Center, and he cares by the way for the same patients in the same hospital with full privileges, but that
should not matter. Baylor Scott and White kept him up on their website until mid July creating a whole
bunch of confusion with hundreds of media personnel, including me.

Stew Peters 3:50

They announced the lawsuit. The day they announced the ill advised COVID-19 mandatory vaccination
program for their 40,000 employees, many of which whom do not want this shot. Now, before serving a
legal complaint on Dr. McCullough, Baylor Scott and White released a memo to the press that they
would be suing him. Why would they do that?

Stew Peters 4:16

Because it's nothing less than an attack on Dr. McCullough's character meant to discredit Dr.
McCullough and save face for the globalists at Baylor and the people who fund them and nothing less.
That is disgusting. Dr. McCullough's record and accomplishments speak for themselves. He's one of the
only honest doctors with big enough balls to come forward with bravery and warn the public to stay out
of the way of what appears to be one of the most deadly rollouts of a so called vaccine in world history.

Stew Peters 4:48

As one of America's leading physicians on the early treatment of COVID-19, his protocols and scientific
works are relied upon to help millions around the globe. Along with half of Americans Dr. McCullough
has appropriate concerns over COVID-19 shot safety and efficacy. Dr. McCullough is a prominent
graduate of Baylor University, with an endowed scholarship in his name. He is commonly associated as a
point of pride for Baylor. The Baylor Scott and White Health System Foundation has been appreciative of
Dr. McCullough's generosity over the years as a major philanthropy donor to the system.

Stew Peters 5:28

And a current active member of medical staff for both Baylor University Medical Center and Baylor
Heart and Vascular hospital with his office on campus, Dr. McCullough is associated on public internet
platforms and groups with countless links and mentions to Baylor Scott and White Health System. We
are real sorry for making that misappropriation and putting that little thing right here on the screen.

Stew Peters 5:50

As the national crisis has drawn on the world, Dr. McCullough has been heavily relied upon in the media
for his scientific interpretation of the data and his accurate assessment of the situation. Dr. McCullough
has not falsely represented himself as a spokesperson for Baylor Scott and White. Nor has he publicly
claimed past senior leadership roles at any prior institution with more than 800,000 3rd party internet
profiles, and 16 million hits in Google.
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Stew Peters 6:20

Dr. McCullough's views have always been represented as his own and not those of any organization.
Many fellow physicians, nursing staff, and most importantly, patients are outraged and rightfully so,
over Baylor Scott and White's attempt to damage McCullough's reputation and censor his important
views to America and the world. During this time of crisis, free speech and scientific discourse are the
bedrock of progress in medicine. And Baylor Scott and White's ill advised lawsuit is an attack on civil
liberties with serious implications on public health and policy far beyond the lawsuit.

Stew Peters 7:00

Now, if you feel like you'd like to send your opinion to those involved with this political targeting of Dr.
McCullough, I am providing a list, a key email list of Baylor Scott and White leaders and their
antagonistic external counsel at StewPeters.tv, go to StewPeters.tv right now and that email list is
available. We'll be back right after this.



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